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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

UNITED STATES                  *
                               *
    v.                         *      CRIM. NO. 20-731 (FLW)
                               *
ELI WILEY                      *
                               *
                             *****
 ORDER REGARDING USE OF VIDEO CONFERENCING/TELECONFERENCING
                  FOR FELONY ARRAIGNMENTS

        In accordance with Standing Order 2020-06, this Court finds:

  ✔      That the Defendant (or the Juvenile) has consented to the use of video

teleconferencing/teleconferencing to conduct the proceeding(s) held today, after consultation

with counsel; and

  ✔      That the proceeding(s) to be held today cannot be further delayed without serious harm

to the interests of justice, for the following specific reasons:

See exhibit attached hereto.



Accordingly, the proceeding(s) held on this date may be conducted by:
   ✔      Video Teleconferencing

          Teleconferencing, because video teleconferencing is not reasonably available for the

following reason:

                  The Defendant (or the Juvenile) is detained at a facility lacking video

        teleconferencing capability.

                  Other:




Date:                                                                     September 22, 2020
                                                                   Honorable Freda L. Wolfson, Chief Judge
                                                                   United States District Judge
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The Court finds that the arraignment be held today cannot be further delayed
without serious harm to the interests of justice, for the following reasons:
  (1) To permit the defendant to obtain a speedy resolution of his case. The
     Court is expected to have a substantial backlog of cases on its docket at
     the conclusion of this period of emergency. At this time, the Court
     cannot accurately predict where the defendant’s case will be prioritized
     within that backlogged docket. As a result, the defendant’s interest in a
     speedy resolution of his case will be seriously harmed if the proceeding
     does not occur.

  (2) To permit the Government to obtain a resolution of the case so that the
     Government may appropriately focus its resources on other, emerging
     criminal matters. The Government has asked for this case to be resolved
     today by guilty plea and for a subsequent timely sentencing.

  (3) To obtain a resolution to the case prior to the end of the time afforded
     the Government to prosecute such case under the Speedy Trial Act
